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                              M IA M ID IV ISIO N

                     CaseNo.19-3881-M J-BECERRA (SEALED)



 UM TED STA TES O F A W RICA ,
          Plaintiff,




 B RU CE B A G LEY
             oetknàantts).
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       TH IS CA U SE cam e before the Court and pursuant to proceedings it is

 thereupon,PU R SU A N T TO TllE AR REST O F TIIE A B O V E N A M ED

 D EFEN D AN T,TI'HS CA SE IS H ER EB Y U N SEA LED .

 D O N E A N D O R D ER ED atM iam i,Florida.



 D ated:11/18/2019




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